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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
                                         NEWARK
Judge Chesler
Court Reporter: PHYLLIS T. LEWIS
6/24/2020

Title of Case
UNITED STATES OF AMERICA
v.
NICOLA MARCHESE

Docket No. 19-920

Appearances:
Sammi Malek, AUSA
Frank Agostino, Esq, Retained and Phillip Colasanto, Esq.
Santiago Cornejo, USPO

Nature of Proceeding:
NON CONTESTED SENTENCE
DEFENDANT AGREED ON THE RECORD TO PROCEED UNDER THE COVID19 ORDER
VIA ZOOM
SENTENCE: PROBATION 2 years on counts 1 and 2 of the INFORMATION. This term
consists of terms of 2 years on each of Counts 1 and 2, all such terms to run concurrently.
Based on information presented, you are excused from the mandatory drug testing provision;
however, you may be requested to submit to drug testing during the period of supervision if the
probation officer determines a risk of substance abuse.
SPECIAL CONDITIONS:
COMMUNITY SERVICE (200 hours over 2 years)
You must contribute 200 hours of community service work over a period of 2 years or
less, from the date supervision commences. Such service will be without compensation,
with the specific work placement to be approved by the U.S. Probation Office.
LOCATION MONITORING PROGRAM (6 months) (Payment NOT waived)
You must submit to home detention for a period of 6 months and comply with the
Location Monitoring Program requirements as directed by the U.S. Probation Office. You
will be restricted to your residence at all times except for employment, education,
religious services, medical, substance abuse and mental health treatment, court-ordered
obligations, and any other such times specifically authorized by the U.S. Probation
Office. The location monitoring technology is at the discretion of the U.S. Probation
Office. You must pay the cost of the monitoring.
FINANCIAL DISCLOSURE
Upon request, you must provide the U.S. Probation Office with full disclosure of your
financial records, including co-mingled income, expenses, assets and liabilities, to
include yearly income tax returns. With the exception of the financial accounts reported
and noted within the presentence report, you are prohibited from maintaining and/or
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opening any additional individual and/or joint checking, savings, or other financial
accounts, for either personal or business purposes, without the knowledge and approval
of the U.S. Probation Office. You must cooperate with the U.S. Probation Office in the
investigation of your financial dealings and must provide truthful monthly statements of
your income. You must cooperate in the signing of any authorization to release
information forms permitting the U.S. Probation Office access to your financial records.
COOPERATION WITH THE INTERNAL REVENUE SERVICE
You must fully cooperate with the Internal Revenue Service by filing all delinquent or
amended returns within six months of the sentence date and timely file all future returns
that come due during the period of supervision. You must properly report all corrected
taxable income and claim only allowable expenses on those returns. You must provide all
appropriate documentation in support of said returns. Upon request, you must furnish the
Internal Revenue Service with information pertaining to all assets and liabilities, and you
must fully cooperate by paying all taxes, interest and penalties due and otherwise comply
with the tax laws of the United States.
SELF-EMPLOYMENT/BUSINESS DISCLOSURE
You must cooperate with the U.S. Probation Office in the investigation and approval of
any position of self-employment, including any independent, entrepreneurial, or freelance
employment or business activity. If approved for self-employment, you must provide the
U.S. Probation Office with full disclosure of your self-employment and other business
records, including, but not limited to, all of the records identified in the Probation Form
48F (Request for Self-Employment Records), or as otherwise requested by the U.S.
Probation Office.
It is further ordered that you must pay to the United States a fine of $4,000; $2,000 per count.
SPECIAL ASSESSMENT: $200, which is due immediately.
RIGHT TO APPEAL:
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s/Theresa C. Trivino, Senior Courtroom Deputy to the Honorable Stanley R. Chesler
